Case 1:15-cv-24668-KMM Document 8 Entered on FLSD Docket 12/25/2015 Page 1 of 8



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                   CASE NUMBER: 15-24668-KMM

 HILDA C. CASTRO and OSIRIS
 CATALINA GARCIA,

          Plaintiffs,

 vs.

 EL ATLAKAT RESTAURANT CORP., a
 Florida Corporation, MARIO CHAVEZ,
 JOSE P. CHAVEZ and JOSE CHAVEZ, JR.

       Defendants.
 ___________________________________________/

                  DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES

          Defendants, EL ATLAKAT RESTAURANT CORP., a Florida Corporation (“El

 Atlakat”), MARIO CHAVEZ (“M. Chavez”), JOSE P. CHAVEZ (“J. Chaves”) and JOSE

 CHAVEZ, JR. (“J. Chaves, Jr.”) (collectively “Defendants”), by and through undersigned

 counsel, hereby serves its Answer and Affirmative Defenses to Plaintiffs, HILDA C. CASTRO

 and OSIRIS CATALINA GARCIA’ (collectively “Plaintiffs”) Complaint, and state as follows:

       1. As to paragraph 1 of the Complaint, Defendants admit Plaintiffs have brought this action

          against Defendants but deny Plaintiffs are entitled to any relief whatsoever, and demand

          strict proof thereof.

       2. As to paragraph 2 of the Complaint, Defendants admit Plaintiffs are seeking damages in

          excess of $15,000.00, but deny Plaintiffs are entitled to any relief whatsoever, and

          demand strict proof thereof.

       3. As to paragraph 3 of the Complaint, Defendants admit.



                                                  1
Case 1:15-cv-24668-KMM Document 8 Entered on FLSD Docket 12/25/2015 Page 2 of 8



    4. As to paragraph 4 of the Complaint, Defendants admit.

    5. As to paragraph 5 of the Complaint, Defendants admit Castro was employed by El

       Atlakat as a waitress until approximately December 19, 2014. Defendants deny the

       remainder and demand strict proof thereof.

    6. As to paragraph 6 of the Complaint, Defendants admit Garcia was employed by El

       Atlakat as a waitress until approximately December 20, 2014. Defendants deny the

       remainder and demand strict proof thereof.

    7. As to paragraph 7 of the Complaint, Defendants admit.

    8. As to paragraph 8 of the Complaint, Defendants admit.

    9. As to paragraph 9 of the Complaint, Defendants admit.

    10. As to paragraph 10 of the Complaint, Defendants deny and demand strict proof thereof.

    11. As to paragraph 11 of the Complaint, Defendants admit.

    12. As to paragraph 12 of the Complaint, Defendants deny and demand strict proof thereof.

    13. As to paragraph 13 of the Complaint, Defendants admit J. Chaves, Jr. resides in Miami,

       but denies the remainder and demands strict proof thereof.

    14. As to paragraph 14 of the Complaint, Defendants deny and demand strict proof thereof.

    15. Defendants re-allege their answers to paragraphs 1 through 14 as if fully set forth herein.

    16. As to paragraph 16 of the Complaint, Defendants deny and demand strict proof thereof.

    17. As to paragraph 17 of the Complaint, Defendants admit Plaintiffs were employed by El

       Atlakat as waitresses, but deny the remainder and demand strict proof thereof.

    18. Paragraph 18 calls for a legal conclusion and therefore no answer is required. However,

       to the extent an answer is required, Defendants deny.




                                                 2
Case 1:15-cv-24668-KMM Document 8 Entered on FLSD Docket 12/25/2015 Page 3 of 8



    19. Paragraph 19 calls for a legal conclusion and therefore no answer is required. However,

        to the extent an answer is required, Defendants deny.

    20. As to paragraph 20 of the Complaint, Defendants deny and demand strict proof thereof.

    21. Paragraph 21 calls for a legal conclusion and therefore no answer is required. However,

        to the extent an answer is required, Defendants deny.

    22. As to paragraph 22 of the Complaint, Defendants deny and demand strict proof thereof.

    23. As to paragraph 23 of the Complaint, Defendants deny and demand strict proof thereof.

    24. As to paragraph 24 of the Complaint, Defendants deny and demand strict proof thereof.

    25. Defendants re-allege their answers to paragraphs 1 through 14 as if fully set forth herein.

    26. As to paragraph 26 of the Complaint, Defendants deny and demand strict proof thereof.

    27. As to paragraph 27 of the Complaint, Defendants deny and demand strict proof thereof.

    28. As to paragraph 28 of the Complaint, Defendants deny and demand strict proof thereof.

    29. As to paragraph 29 of the Complaint, Defendants deny and demand strict proof thereof.



                                  AFFIRMATIVE DEFENSES:

                                FIRST AFFIRMATIVE DEFENSE

        1.      Plaintiffs’ Complaint fails in whole or in part to state a cause of action upon

 which relief can be granted.

                                SECOND AFFIRMATIVE DEFENSE

        2.      Defendants had a reasonable, good faith belief they were not violating the FLSA

 or FMWA and are therefore not liable for liquidated damages. Any violations of the FLSA or

 FMWA were unintentional, and therefore liquidated damages are not recoverable. At no time did

 Defendants willfully violate the requirements under the FLSA.



                                                 3
Case 1:15-cv-24668-KMM Document 8 Entered on FLSD Docket 12/25/2015 Page 4 of 8



                               THIRD AFFIRMATIVE DEFENSE

        3.      The causes of action set forth in the Complaint are barred by the applicable statute

 of limitations, in such cases made and provided. Plaintiffs cannot seek damages for any time

 period more than two years prior to the filing of the Complaint in this matter for the federal

 FLSA claim, or more than five years prior to the filing of the Complaint for the Florida minimum

 wage claim. At no time did Defendants willfully violate the requirements under the FLSA or

 FMWA.

                             FOURTH AFFIRMATIVE DEFENSE

        4.      Plaintiffs’ claims are barred by the doctrine of payment. Plaintiffs were paid any

 and all sums owed and during to them under any contract entered into between the Parties and

 any requirements under Federal and State law, including but not limited to the FLSA and

 FMWA. Further, any violation of the FLSA or FMWA were nominal, and Plaintiffs never

 reported any discrepancy or error in payment to Defendants.

                                   FIFTH AFFRIMAIVE DEFENSE

             5. Plaintiffs’ claims under the FMWA fail because they did not satisfy a condition

 precedent to bringing such a claim as required by 448.110(6)(a). Plaintiffs’ pre-suit demand

 letters did not provide specific facts necessary to satisfy their requirements necessary to

 sufficiently identify the minimum wage to which they seek entitlement, the actual or estimated

 work dates and hours for which payment is sought, and the total amount of alleged unpaid wages

 through the date of the notice.

                               SIXTH AFFIRMATIVE DEFNESE

             6. M. Chavez, J. Chavez, and J. Chavez, Jr. were not “employers” as that term is

 defined under the FLSA and FMWA, because they were not sufficiently involved in the day-to-



                                                 4
Case 1:15-cv-24668-KMM Document 8 Entered on FLSD Docket 12/25/2015 Page 5 of 8



 day operations of the business or otherwise exercise such control over Plaintiffs’ employment as

 to make them personally liable. Therefore, these Defendants cannot be held personally liable for

 any violations of the FLSA or FMWA.

                             SEVENTH AFFIRMATIVE DEFNESE

            7. Plaintiffs are not entitled to any and all other relief not expressly plead for in the

 Complaint (including but not limited to injunctive relief). Plaintiffs are precluded from seeking

 injunctive or other equitable relief in this matter pursuant to the doctrine of unclean hands.

 Plaintiffs were terminated from their employment for stealing from a customer of El Atlakat.

                                           NON-WAIVER

        Each and every allegation in the Complaint not specifically admitted is denied, and the

 failure to deny a specific allegation, or assert a specific defense, shall not be deemed to be an

 admission of an allegation, or a waiver of a defense. Defendans also reserves its right to serve

 additional affirmative defenses as discovery proceeds.

                                  DEMAND FOR JURY TRIAL

        Defendants demand a trial by jury on all issues so triable.



 WHEREFORE, Defendants respectfully requests this Court:

 A. dismiss the claims against them;

 B. award them taxable costs and attorneys’ fees pursuant to 29 U.S.C § 216(b), and any other

 statute or rule providing an award of fees and/or costs; and

 C. award them any and all further relief that is just and equitable.




                                                   5
Case 1:15-cv-24668-KMM Document 8 Entered on FLSD Docket 12/25/2015 Page 6 of 8




                                           Respectfully Submitted,

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                                       6
Case 1:15-cv-24668-KMM Document 8 Entered on FLSD Docket 12/25/2015 Page 7 of 8



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 25th, 2015 I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on all counsel of record or pro se parties identified on the attached

 Service List in the manner specified, either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.


                                               s/ Joshua M. Entin, Esq.
                                               Joshua M. Entin, Esquire




                                                  7
Case 1:15-cv-24668-KMM Document 8 Entered on FLSD Docket 12/25/2015 Page 8 of 8



                             ATTACHED SERVICE LIST

              Hilda C. Castro, et al. vs. El Atlakat Restaurant Corp., et al.
                                Case No: 15-24668-KMM
               United States District Court, Southern District of Florida



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                                            8
